                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


    BABY DOE et al.,                                   )
                                                       )
             Plaintiffs,                               )
                                                       )
    v.                                                 )     Case No. 3:22-CV-00771
                                                       )
    ENDO HEALTH SOLUTIONS, INC., et al.                )     District Judge William L. Campbell, Jr.
                                                       )     Magistrate Judge Jeffrey S. Frensley
                      Defendants.                      )

                  PLAINTIFFS’ RESPONSE TO MCKESSON CORPORATION’S
                        NOTICE OF SUPPLEMENTAL AUTHORITY

            The MDL Court’s decision in In Re National Prescription Opiate Litig., 2023 WL 166006

(N.D. Ohio Jan. 12, 2023) (“Frederick County”) does not justify keeping this case in federal court. 1

The claims and issues in Frederick County were materially different than here.

            In Frederick County, plaintiffs asserted claims for public nuisance, negligence conspiracy,

and fraud. 2 The removing defendants were a set of pharmacy benefit managers and affiliated mail-

order pharmacies who managed the formulary and provided mail-order drugs for federal

employees enrolled in a particular federal health care plan. 3 Plaintiffs’ basic allegations were that

these defendants flooded their communities with too many opioids, should have employed a

stricter formulary restriction with respect to all shipments, and filled prescriptions that were

ultimately diverted. 4 In contrast to the Complaint at issue here, plaintiffs in Frederick County do

not appear to have contested that (a) the plaintiffs’ claims encompassed all opioid shipments by


1
  McKesson attached the docketed version of Frederick County. For ease of reference going
forward, Plaintiffs cite to the Westlaw version here.
2
  Frederick County, 2023 WL 166066, at *2.
3
  Id. at *2-3.
4
  Id. at *6-7.


                                           1 01/30/23 Page 1 of 6 PageID #: 2044
         Case 3:22-cv-00771 Document 92 Filed
the Defendants (without distinguishing between non-federal shipments and federal shipments, if

any) and (b) that, if the Defendants were correct that any federally supplied drugs had reached

plaintiffs’ communities, the plaintiff’s claims necessarily implicated (and sought to regulate) those

federal shipments. 5 In that posture, the District Court rejected the plaintiffs’ “formalistic”

argument that simply omitting any mention of the contract in their pleading somehow was

determinative of the issue. 6 The District Court found that Defendants had sufficiently proven that

some of their drugs were supplied in plaintiffs’ communities. It observed that plaintiffs were

essentially seeking to impose “impossible” state law obligations on the Defendants, who could not

have restricted their federal operations and supply without violating the federal contract. 7

       The situation here is materially different. Unlike in Frederick County, this Court’s

jurisdiction does not turn on whether any drugs that McKesson supplied to a VA Hospital reached

Davidson County. In contrast to the theory of liability in Frederick County, Plaintiffs are only

pursuing McKesson for making illegal shipments to private pill mills and doing so under the

Tennessee Drug Dealer Liability Act – not public nuisance. Here, if McKesson knowingly supplied

private Tennessee pill mills with opioids that it knew were being diverted or otherwise violated its

Tennessee duties in supplying them, 8 McKesson can be liable under the DDLA for illegal market

participation. 9 Plaintiffs only contend that McKesson violated these duties (and therefore can be



5
   See generally In re Prescription Opiate Litig., 1:17-md-2804-DAP, MDL Dkt. No. 4700,
Plaintiffs’ Supplemental Response on Federal Officer Jurisdiction in Support of Plaintiffs’ Motion
to Remand. Plaintiffs there did argue that there could be a de minimis exception, but the District
Court found that unpersuasive. See Frederick County, 2023 WL 166066, at *6 n. 4.
6
  Id. at 5.
7
  Id. at 7.
8
  Tennessee law required McKesson to monitor for, report, and (upon detection) impound any
suspicious orders of opioids. (See, e.g., T.C.A. § 53-10-312(c).) Tennessee law also required
McKesson only to distribute its drugs for a purpose consistent with its Tennessee registration –
i.e., to serve medically valid purposes. (See T.C.A. § 53-11-401(a)(1); see also T.C.A. 53-11-302.
9
  T.C.A. § 53-11-104(9) (defining illegal market participation).


                                      2 01/30/23 Page 2 of 6 PageID #: 2045
    Case 3:22-cv-00771 Document 92 Filed
liable under the DDLA) for shipments to private pill mills. Plaintiffs do not allege – and expressly

disclaim – enforcing those state law duties on McKesson’s federal shipments to VA Hospitals.

McKesson’s contract to supply Veterans Administration hospitals has no bearing on whether

McKesson illegally (and knowingly) shipped drugs to private pill mills. Thus, unlike in Frederick

County, Plaintiffs’ enforcement of the Tennessee DDLA against McKesson for its private

shipments does not impact (or implicate) the federal contract or associated federal shipments in

any way. McKesson faces no “impossible” decision between complying with the federal contract

and otherwise complying with its Tennessee duties. Nor are Plaintiffs retroactively seeking to hold

McKesson liable for adhering to the federal contract. Frederick County has no bearing here.

        Ultimately, McKesson continues to advocate for a troubling result. Its position is

essentially that its federal contract to supply the VA gave it free license otherwise to flout

Tennessee law when making separate, totally unrelated shipments to private pill mills. If

McKesson’s position is adopted, it would preclude Tennessee from facing liability under the

DDLA for its misconduct in supplying privately operated pharmacies – simply because McKesson

separately has a contract to supply certain federal facilities. 10 That cannot be what Congress

intended and does not demonstrate even a “colorable” defense.

        This case belongs in state court. Frederick County does not show otherwise. Plaintiffs

therefore respectfully reiterate that remand is warranted.




10
  Indeed, taken to its logical conclusion, McKesson could have received an order for a metric ton
of opioids from a private pill mill in Nashville on a particular day, recognized that the order was
improper and would be diverted, knowingly shipped the drugs anyway, and then watched the
pharmacist hand out those drugs to drug addicts – but nevertheless have a complete federal defense
simply because it happened to make separate unchallenged and totally appropriate shipments to
the VA Hospital at a different place and time.


                                       3 01/30/23 Page 3 of 6 PageID #: 2046
     Case 3:22-cv-00771 Document 92 Filed
Dated: January 26, 2023                  Respectfully submitted,


                                         /s/Anthony A. Orlandi
                                         BRANSTETTER, STRANCH &
                                         JENNINGS, PLLC
                                         Tricia R. Herzfeld (BPR #26014)
                                         James G. Stranch, III (BPR #2542)
                                         J. Gerard Stranch, IV (BPR #023045)
                                         Joe P. Leniski, Jr. (BPR #22891)
                                         Anthony A. Orlandi (BPR #33988)
                                         The Freedom Center
                                         223 Rosa L. Parks Avenue, Suite 200
                                         Nashville, TN, 37203
                                         Telephone: (615) 254-8801
                                         Facsimile: (615) 255-5419
                                         triciah@bsjfirm.com
                                         jims@bsjfirm.com
                                         gerards@bsjfirm.com
                                         joeyl@bsjfirm.com
                                         aorlandi@bsjfirm.com




                                     4 01/30/23 Page 4 of 6 PageID #: 2047
   Case 3:22-cv-00771 Document 92 Filed
                                 CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing PLAINTIFFS’ RESPONSE TO MCKESSON
CORPORATION’S NOTICE OF SUPPLEMENTAL AUTHORITY was served upon the
following parties via the Court’s CM/ECF system, electronic mail and/or U.S. Mail on this 26th
day of January 2023 to all counsel of record:

William B. Hawkins III                            jburgener@dickinsonwright.com
Lee Pope                                          Attorney for Walmart, Inc. and Wal-Mart
Hawkins Hogan, PLC                                Stores East, L.P.
205 17th Ave. North, Cte. 202
Nashville, TN 37203                               Chris L. Vlahos
lpope@hawkinshogan.com                            Jenna L. Harris
whawkins@hawkinshogan.com                         Ritholz Levy Fields, LLC
Attorneys for Del Mar Medical, Inc. d/b/a         131 S. 11th Street
Pardue’s Pharmacy                                 Nashville, TN 37206
                                                  cvlahos@rlfllp.com
Grace A. Fox                                      jharris@rlfllp.com
Robert A. Peal                                    Attorneys for Allergan Finance, LLC
Sims Funk, PLC
3322 West End Ave., #200                          Taylor B. Mayes
Nashville, TN 37203                               Andrew D. Tharp
gfox@simsfunk.com                                 Butler Snow, LLP
rpeal@simsfunk.com                                150 Third Avenue South, Ste. 1600
Attorney for Hemal Mehta                          Nashville, TN 37201
                                                  Taylor.mayes@butlersnow.com
Matthew J. Evans                                  Andrew.tharp@butlersnow.com
William G. Wojcik, II                             Attorneys for Johnson & Johnson, Inc. and
Casey Malloy                                      Janssen Pharmaceuticals, Inc.
John J. Griffin, Jr.
Kay Griffin, PLLC                                 Stuart A. Burkhalter
900 S. Gay Street, Ste. 1810                      Riley & Jacobson, PLC
Knoxville, TN 37902                               1906 West End Avenue
Matthew.evans@kaygriffin.com                      Nashville, TN 37203
wwojcik@kaygriffin.com                            sburkhalter@rjfirm.com
Cmalloy@kaygriffin.com                            Attorneys for Endo Health Solutions, Inc.,
john.griffin@kaygriffin.com                       Endo Pharmaceuticals, Inc., Par
Attorneys for Walgreens Co.                       Pharmaceuticals, Inc., Impax Laboratories,
                                                  Inc., Amneal Pharmaceuticals, Inc., Amneal
Kyle Mothershead                                  Pharmaceuticals, LLC, Teva Pharmaceuticals
Relentless Advocacy, PLLC                         USA, Inc., Watson Laboratories, Inc., Actavis,
2901 Dobbs Ave.                                   LLC, and Actavis Pharma, Inc.
Nashville, TN 37211
kyle@relentlesslaw.com                            Melanie S. Carter
Attorney for Timothy Abbott                       Justina L. Byers
                                                  Terry M. Henry
Joshua L. Burgener                                Blank Rome LLP
Dickinson Wright, PLLC                            One Logan Square
424 Church Street, Ste. 800                       130 N 18th Street
Nashville, TN37203                                Philadelphia, PA 19103-6998




                                     5 01/30/23 Page 5 of 6 PageID #: 2048
   Case 3:22-cv-00771 Document 92 Filed
Melanie.Carter@BlankRome.com                    csj@smrw.com
Terry.Henry@BlankRome.com                       Attorneys for CVS Pharmacy, Inc.; CVS TN
Justina.Byers@BlankRome.com                     Distribution, LLC; CVS Indiana, LLC;
Attorneys for Teva Pharmaceuticals USA, Inc.,   Tennessee CVS Pharmacy, LLC
Actavis, LLC, Actavis Pharma, Inc., and
Watson Laboratories                             Larry H. Montgomery
                                                Aubrey B. Greer
Lela M. Hollabaugh                              Glankler Brown, PLLC
Bradley Arant Boult Cummings, LLP               6000 Poplar Ave., Ste. 400
1600 Division Street, Ste. 700                  Memphis, TN 38119
Nashville, TN 37203                             lmontgomery@glankler.com
lhollabaugh@bradley.com                         agreer@glankler.com
Attorneys for Cardinal Health, Inc.             Attorneys for Rite Aid Hdqtrs. Corp, Rite Aid of
                                                Tennessee, Inc., Rite Aid of Maryland, Inc.
Kyle W. Eiselstein                              d/b/a Rite Aid Mid-Atlantic Customer Support
Meredith C. Lee                                 Center, Inc.
Miller & Martin PLLC
1200 Volunteer Building                         Anna G. Rasmussen
832 Georgia Avenue                              Jeffrey C. Smith
Chattanooga, TN 37402                           John-David H. Thomas
kyle.eiselstein@millermartin.com                Waller, Lansden, Dortch & Davis, LLP
Meredith.lee@millermartin.com                   Nashville City Center
Attorneys for AmerisourceBergen Drug            511 Union Street, Ste. 2700
Corporation                                     Nashville, TN 37219
                                                anna.rasmussen@wallerlaw.com
Conor N. O’Croinin                              Jeff.Smith@wallerlaw.com
100 East Pratt St., Ste. 2440                   jd.thomas@wallerlaw.com
Baltimore, MD 21202                             Attorneys for McKesson Corporation
cocroinin@xuckerman.com
                                                Cindy Scott
C. Scott Johnson                                1412 Semmes Ave. #2102
Spears, Moore, Rebman & Williams, PC            Richmond, VA 23224
P.O. Box 1749                                   Pro Se
Chattanooga, TN 37401




                                                        /s/ Anthony A. Orlandi
                                                         Anthony A. Orlandi




                                      6
    Case 3:22-cv-00771 Document 92 Filed 01/30/23 Page 6 of 6 PageID #: 2049
